                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION
                         Civil Action No.: 5:23-CV-000559-BO-RJ


DELBERT QUILLEN WARD,




                                            ee
                      Plaintiff,

      Vv.                                                   DECLARATION OF
                                                              RYAN WILSON




                                            a
CITY OF RALEIGH

                      Defendant.



    Ryan Wilson, under penalty of perjury, hereby declares and states as follows:

             I,      I am over eighteen years of age, of sound mind, and otherwise competent to

    make this declaration. The facts set forth in this declaration are based on my personal

    knowledge.

             Dn      I am currently employed by the City of Raleigh, Finance Department and

    hold the position of Risk and Insurance Manager.     I have held this position since August

     17, 2020.

            3.       Prior to becoming the City of Raleigh’s Risk and Insurance Manager, I held

    various claims analyst positions in both the public and private sector, most recently as a

    Business Services Claims Analyst for the City of Durham.      I have over fifteen (15) years

    of employment experience working closely on issues related to liability insurance.

            4.       As the City of Raleigh’s Risk and Insurance Manager, I coordinate the

    City’s insurance coverage, I serve as custodian of the City’s current and past insurance

    policies, and I supervise and direct the City’s Risk Management Division.         I am very




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familiar with all of the City’s past and present insurance coverages and the excess insurance

policies that the City has purchased.

      5.          The City does not participate in a risk pool and has not participated in a risk

pool for many years prior to August 2020.

      6.          Throughout the year 2020, the City of Raleigh had in effect excess liability

insurance coverage      for general liability, which provided coverage for certain types of

claims or judgments as specified in the particular policy when the amount of those claims

exceeded     $1,000,000.    During   that period,     the City purchased      an insurance policy to

provide a    total of $10,000,000 in excess liability insurance coverage. During that period,

the City was—and currently remains—wholly uninsured for general liability claims under

$1,000,000 or above $11,000,000.

      7.          From July 1, 2020 to July 1, 2021, the above-described excess insurance

coverage was provided by Brit Global              Specialty, USA,   through     a Lloyd's    Certificate,

Declarations, and Policy of General Liability, Automobile Liability, Errors and Omissions

Liability, Employee Benefits Liability, and Law Enforcement Liability Insurance bearing

policy number PK1028820 (hereinafter, the “Excess Policy”).                   The Excess Policy had

aggregate limits of $10,000,000, with a self-insured retention of $1,000,000.                 A genuine

copy of the Excess Policy is attached to this declaration as Exhibit A. The Excess Policy

is a public record as defined by North Carolina General Statutes § 132-1, et. seg.

       8.         The   Excess   Policy    also   included   Endorsement      No.   11,   entitled North

Carolina Governmental Immunity,           which states:

           This Policy is not intended by the INSURED to waive its governmental
           immunity as allowed by North Carolina General Statutes Section 115C-42,
           Section 153A-435, Section 115D-24 or Section 160A-485, or any
           amendments thereof.    Accordingly, subject to this Policy and the Specific




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           Excess    Limits of Insurance       as stated in the Declarations,       this Policy
           provides coverage only for OCCURRENCES or CLAIMS for which the
           defense of governmental immunity is clearly not applicable or for which,
           after the defense is asserted, a court of competent jurisdiction determines
           the defense of governmental immunity not to be applicable. This Policy
           does not apply to any amount for which the INSURED would not be liable
           under applicable governmental or sovereign immunity but for the existence
           of this Policy.

      9.            The City of Raleigh has had a self-insured retention on its liability insurance

coverage for more than two decades.

       10.          In 1999, the Raleigh City Council enacted a policy allowing for a limited

waiver of governmental immunity             and immunity for public officials (hereinafter, the

“Waiver Guidelines”). A certified copy of the Waiver Guidelines is attached hereto as

Exhibit B. The Waiver Guidelines is a public record as defined by North Carolina General

Statutes § 132-1, et. seq.

       11.          The Waiver Guidelines authorize the City to waive governmental immunity

and immunity         for public officials acting in their official capacity             in certain limited

circumstances       and   for certain   claims    under   $1,000,000.     The    City     may   not   waive

governmental        immunity   or immunity       for public   officials unless   the prerequisites      and

conditions     of the Waiver      Guidelines     are strictly observed.     Pursuant       to the Waiver

Guidelines, a claimant or plaintiff accepting the terms of the City Council’s waiver cannot

reserve any claim against any person or entity and must execute the City’s release to receive

payment. Further, pursuant to the Waiver Guidelines, the City may waive its governmental

immunity or immunity for public officials only for those claims proximately caused by the

wrongdoing or negligence of the City or its employee.

       12.          Based on my experience in monitoring the work of independent liability

adjusters, including the independent liability adjusters with whom the City contracts, and




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      based   on my       knowledge    about   claims   that I have monitored       as the City’s Risk   and

       Insurance Manager, the adjusters and the City apply and adhere to this policy.

              13.         As the City’s Risk and Insurance Manager,           I have been aware of the

      Plaintiffs’ lawsuit since it was served on the City.        I am also aware that the Raleigh City

      Attorney      has   assigned   Deputy    City Attorney,   Dorothy   Kibler,    to defend   the City in

      Plaintiffs’ lawsuit.

              14.         Pursuant to my duties as the City’s Risk and Insurance Manager, I monitor

      the City’s liability reserves and any pending or potential settlements or judgments that may

      require funding from these reserves.         As of the date of this declaration, I have neither seen

      nor been advised that the Plaintiff in this lawsuit has executed a release of all persons,

      firms, and corporations arising out of the claims asserted in the Complaint.


      I declare under penalty of perjury that the foregoing is true and correct.           Executed on this
     AN
the As* day of November 2023.



                                                                    Lue
                                                                   Ryan Wilson
                                                                   Risk and Insurance Manager
                                                                   City of Raleigh




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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                               No. 5:23-CV-00559-BO-RJ

 DELBERT QUILLEN WARD,                             )
                        Plaintiff,                 ;

       v.                                          ;         CERTIFICATE OF SERVICE

 THE CITY OF RALEIGH,

                        Defendant.


       [hereby certify that on the 15" day of November, 2023, I electronically filed the foregoing

Declaration with the Clerk of the Court using the CM/ECF system which will send notification of

such filing and that I served the attached document on all of the non CM/ECF participants who are

parties to this action by depositing a copy hereof, postage prepaid, in the United States Mail,

addressed as follows:

   Jonathan A. Carnes
   Tara Warwick
   CarnesWarwick
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   Raleigh, NC 27601
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   tara@carneswarwick.law
   Attorneys for Plaintiff




       Respectfully submitted,


                                                       CITY OF RALEIGH
                                                       Karen M. McDonald
                                                       City Attorney

                                                       /s/ Dorothy V. Kibler
                                                       Dorothy V. Kibler




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